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 8
                           IN THE UNITED STATES DISTRICT COURT
 9
                               FOR THE DISTRICT OF ARIZONA
10
      Chance E. Gordon,                                Case No.: 4:17-cv-00169-DCB
11

12                                                     ORDER OF DISMISSAL
              Plaintiff,
13

14    v.

15    Scotia Group Management LLC, an
16    Arizona Limited Liability Company,
      National Credit Systems Incorporated, a
17    Georgia Corporation, and Unknown Party
18    name as Does 1-10,

19            Defendants.
20
            The Court, having considered Plaintiff Chance E. Gordon and Defendants Scotia
21

22   Group Management LLC and National Credit Systems Incorporated’s Stipulation for

23   Dismissal with Prejudice, and good cause appearing,
24
            IT IS HEREBY ORDERED that this action is dismissed, with prejudice, each
25

26
     party to bear its own fees and costs. This action is closed.

27          Dated this 9th day of January, 2018.
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